Case 2:19-cv-02149-PKH Document 24           Filed 10/19/20 Page 1 of 1 PageID #: 720




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION




CARL J. PAYNE                                                               PLAINTIFF

v.                               CASE NO. 2:19-CV-2149

ANDREW M. SAUL, Commissioner,
Social Security Administration                                              DEFENDANT



                                      JUDGMENT

       Pursuant to the Order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that the decision of the Administrative Law Judge is REVERSED, and this case

is REMANDED to the Commissioner for further consideration pursuant to sentence four of 42

U.S.C. § 405(g).

       IT IS SO ORDERED this October 19, 2020.



                                         /s/P. K. Holmes III
                                         P. K. HOLMES III
                                         U.S. DISTRICT JUDGE
